   Case 2:10-md-02179-CJB-DPC Document 6091-1 Filed 03/22/12 Page 1 of 1




                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


 RENE ROUSSELL                                      Civil Action No.: 2:12-cv-00702

                                                    Section: “J”
 VERSUS
                                                    Judge: Carl J. Barbier

                                                    Magistrate Div.: (1)
 PIE OFFSHORE, LLC, DANOS AND
 CUROLE MARINE                                      Magistrate Judge: Sally Shushan
 CONTRACTORS, LLC, and BP
 EXPLORATION AND PRODUCTION,
 INC.



                                            ORDER

       Considering the above and foregoing Limited Motion to Dismiss by plaintiff filed prior to

answer, IT IS ORDERED that defendant BP Exploration and Production, Inc., only be and

hereby is dismissed from this case, without prejudice; reserving to plaintiff all rights he may

have against all other parties hereto, named and/or unnamed; and reserving to plaintiff all rights

he may have asserted against BP in other claims and/or proceedings.

       New Orleans, LA, this _______ day of _______, 2012.



                                                     ______________________________
                                                                 Judge
